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        UNITED STATES DISTRICT COURT
              ---------- DISTRICT OF MARYLAND -------
                                         APPEARANCE



UNITED STATES OF AMERICA

               v.                                           CASE NO.: ELH-20-361

JAMES IAN PICCIRILLI

                               *        *     *         *   *       *

                                      NOTICE OF APPEARANCE

To the Clerk of this Court and all parties of record:

       Enter my appearance as counsel in this case for James Ian Piccirilli. I certify that I am

admitted to practice in this Court.




November 18, 2020                                           /s/
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